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 7                             UNITED STATES DISTRICT COURT

 8                                   DISTRICT OF NEVADA

 9                                             ***

10 UNITED STATES OF AMERICA,           )
                                       )
11             Plaintiff,              )
                                       )
12 vs.                                 )               2:10-cr-547-RLH-GWF
                                       )
13 GHAFOURIA et al.,                   )
                                       )
14             Defendant.              )                     ORDER
   ____________________________________)
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16                The above entitled matter is HEREBY REFERRED to Magistrate Judge Foley for all

17 matters concerning budgetary issues and voucher approvals submitted pursuant to the Criminal
18 Justice Act.
19                DATED this 18th of January, 2011..

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21                                                     _____________________________________
                                                       CHIEF UNITED STATES DISTRICT JUDGE
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